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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                       1/11/2021
 Israel Efrain Rendon, et al.,

                                 Plaintiffs,
                                                               1:19-cv-02482 (PGG) (SDA)
                     -against-
                                                               ORDER
 Continental Hosts, Ltd., et al.,

                                 Defendants,


 Continental Hosts, Ltd.,

                                 Third-Party
                                 Plaintiff,

                     -against-

 Homestyle Hospitality LLC, et al.,

                                 Third-Party
                                 Defendants.


STEWART D. AARON, United States Magistrate Judge:

         Plaintiffs’ Letter Motion to compel (ECF No. 139) is GRANTED IN PART and DENIED IN

PART. Applying principles of proportionality, the Court in its discretion hereby ORDERS that the

Continental Defendants promptly shall arrange to have the 12 boxes of documents delivered to

the offices of Plaintiffs’ counsel to be received no later than January 22, 2021. After Plaintiffs’

counsel’s review of the boxes is complete, Plaintiffs’ counsel shall deliver the boxes to the offices

of the Continental Defendants’ counsel (which the Court takes judicial notice is a few blocks

away).

         The Court reiterates its prior Order (ECF No. 141) that the court-ordered depositions of

Plaintiffs Israel Efrain Rendon, Santos Marlene Lopez Siguenza and Pantaleon Leon shall proceed
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on the dates previously agreed by the parties and shall be concluded no later than January 29,

2021. In addition, no later than January 15, 2021, counsel for the Continental Defendants shall

provide to Plaintiffs available dates for the deposition of their witnesses.

SO ORDERED.

DATED:         New York, New York
               January 11, 2021

                                                      ______________________________
                                                      STEWART D. AARON
                                                      United States Magistrate Judge




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